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                                                                Inter Partes Review
                                                United States Patent No. 11,051,743

         UNITED STATES PATENT AND TRADEMARK OFFICE

                                 BEFORE THE

                 PATENT TRIAL AND APPEAL BOARD



                            VITAL CONNECT, INC.

                                   Petitioner

                                       v.


                          BARDY DIAGNOSTICS, INC.

                                  Patent Owner


                         ____________________________

                          U.S. Patent No. 11,051,743
                        Original Issue Date: Jul. 6, 2021
                 Title: ELECTROCARDIOGRAPHY PATCH

                       Case No. IPR2023-00381
 _________________________________________________________________

              PETITION FOR INTER PARTES REVIEW
                  OF U.S. PATENT NO. 11,051,743
          PURSUANT TO 35 U.S.C. §§ 311-319 and 37 C.F.R. § 42

 __________________________________________________________________
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                          LISTING OF EXHIBITS


     Exhibit                                Description

 Exhibit 1001    U.S. Patent No. 11,051,743 (the “’743 patent”)

 Exhibit 1002    Declaration of Dr. Dr. Joseph Akar (“Akar”)

 Exhibit 1003    International Public No. WO 2010/104952 (“Mazar”)

 Exhibit 1004    U.S. Patent Appl. Publ. No. 2011/0077497 (“Oster”)

 Exhibit 1005    U.S. Patent No. 11,116,447 (“Yang”)

 Exhibit 1006    Curriculum Vitae of Dr. Joseph Akar

 Exhibit 1007    Prosecution History of U.S. Patent No. 11,051,743

 Exhibit 1008    U.S. Patent No. 5,862,803 (“Besson”)

 Exhibit 1009    Gary Wolf, “The Data-Driven Life,” New York Times
                 Magazine, April 28, 2010

 Exhibit 1010    Kashmir Hill, “Adventures in Self-Surveillance: Fitbit,
                 Tracking My Movement and Sleep,” Forbes, February 25, 2011

 Exhibit 1011    Lori Mehen, “Open health with the quantified self,”
                 Opensource.com, August 25, 2011

 Exhibit 1012    “23 Personal Tools to Learn More About Yourself,”
                 Flowingdata.com, September 18, 2008

 Exhibit 1013    PCT Appl. Publ. No. WO 2008/005015 (“Shennib”) (Exhibit
                 1013)

 Exhibit 1014    U.S. Patent No. 7,206,630 (“Tarler”) (Exhibit 1014)

 Exhibit 1015    U.S. Patent No. 8,611,980 (“Chloe”) (Exhibit 1015)

 Exhibit 1016    M. Puurtinen, et al., Estimation of ECG Signal of closely
                 separated bipolar electrodes using thorax models, Proceedings
                 of the 26th Annual International Conference of the IEEE

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                 EMBS pp. 801-804, San Francisco, Calif., USA, Sep. 1-5, 2004
                 (Exhibit 1016)

 Exhibit 1017    Trägårdh E, Engblom H, Pahlm O., How many ECG leads do
                 we need? Cardiol Clin. 2006 Aug;24(3):317-30, vii. doi:
                 10.1016/j.ccl.2006.04.005. PMID: 16939826 (Exhibit 1017)

 Exhibit 1018    May 24, 2022, Letter from Bardy’s Counsel in response to
                 VitalConnect letter of May 2, 2022 and May 2, 2022, Letter
                 from VitalConnect’s Counsel to Bardy (Exhibit 1018)

 Exhibit 1019    U.S. Patent No. 9,277,864




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I.    INTRODUCTION

      Pursuant to 35 U.S.C. §§ 311-319 and 37 C.F.R. § 42, Petitioner Vital

Connect, Inc. (“VitalConnect” or “Petitioner”) respectfully requests inter partes

review (“IPR”) of Claims 1-20 (“Challenged Claims”) of U.S. Patent No.

11,051,743 (the “’743 patent”).

      The ’743 patent discloses and claims a wearable wireless monitor patch for

electrocardiographic and physiological monitoring. The claims are directed to the

basic structure of a wireless patch (e.g., electrodes, wireless transceivers, flexible

circuit boards, processors, batteries) with a narrower mid-section.

      But the inventors of the ’743 patent did not invent the wireless

electrocardiographic patch. The field of wireless medical patches was very

crowded by the priority date of the ’743 patent. Such devices commonly use the

basic components above and wireless electrocardiographic patches with a narrow

mid-section were taught by many prior art references, including the prior art relied

on in this Petition. As discussed at length below, the ’743 patent claims nothing

that was not well-known in this highly developed field.

      Petitioner requests that the PTAB institute trial and find the Challenged

Claims unpatentable for the reasons set forth herein.




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 II.   37 C.F.R. § 42.8(B): MANDATORY NOTICES

              37 C.F.R. § 42.8(b)(1): Notice of Real-Parties-in-Interest
       Petitioner certifies that the real parties-in-interest are: Vital Connect, Inc.

 No other parties exercised or could have exercised control over this Petition; no

 other parties funded or directed this Petition. See Office Patent Trial Practice

 Guide, 77 Fed. Reg. 48759-60.

              37 C.F.R. § 42.8(b)(2): Notice of Related Matters
       To the best knowledge of Petitioner, the ’743 patent has been involved in the

 following litigations and matters:

                          Case Name                                    Filed

  Bardy Diagnostics, Inc. v. Vital Connect, Inc., Case No.      Mar. 18, 2022
  1:22-cv-00351 (D. Del.)

              37 C.F.R. § 42.8(b)(3) and (4): Notice of Counsel and Service
              Information

   Vital Connect, Inc. Lead Counsel          Vital Connect, Inc. Back-Up Counsel

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                                           Los Angeles, CA 90071
                                           Telephone: (213) 629-2020
                                           PTABDocketG1P6@orrick.com

        Petitioner submits a Power of Attorney with this Petition. Please address all

 correspondence to lead counsel. Petitioner consents to service by email at the

 email addresses listed above.

              Fee for Inter Partes Review
        The USPTO is authorized to charge the filing fee and any other fees incurred

 by Petitioner to the deposit account of Orrick, Herrington, & Sutcliffe LLP:

 15-0665.

 III.   REQUIREMENTS FOR IPR

        This Petition complies with all requirements under 37 C.F.R. § 42.104 for

 IPR.

              § 42.104(a): Grounds for Standing
        The ’743 patent is available for IPR; Petitioner is not barred or estopped

 from requesting IPR; and this Petition for IPR is timely filed under 35 U.S.C. §

 315(b).

              § 42.104(b): Identification of Challenge
        Pursuant to 37 C.F.R. § 42.104(b), Petitioner requests that the PTAB

 invalidate the Challenged Claims of the ’743 patent.

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              1.     § 42.104(b)(1): Challenged Claims

       Petitioner challenges Claims 1-20 of the ’743 patent.

              2.     § 42.104(b)(2): The Prior Art and Statutory Grounds

       The application for the ’743 patent was filed on December 11, 2020. It

 claims priority to application No. 16/241,929, filed on January 7, 2019, now Pat.

 No. 10,888,239, which is a continuation of application No. 15/818,437, filed on

 Nov. 20, 2017, now Pat. No. 10,172,534, which is a continuation of application

 No. 15/256,266, filed on September 2, 2016, now Pat. No. 9,820,665, which is a

 continuation of application No. 14/082,071, filed on Nov. 15, 2013, now Pat. No.

 9,433,367, which is a continuation-in-part of application No. 14/080,717, filed on

 Nov. 14, 2013, now Pat. No. 9,545,204, and a continuation-in-part of application

 No. 14/080,725, filed on November 14, 2013, now Pat. No. 9,730,593, and

 Provisional application No. 61/882,403, filed September 25, 2013. This Petition

 therefore treats September 25, 2013, as the priority date for the ’743 patent (the

 “Priority Date”).




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       The prior art references relied upon herein are:

    Patent/Publication        Priority Date      Publication   Prior       Ex. No.
                                                    Date        Art
  International Publ. No.     March 10,         September 16, 102(b)      1003
  WO 2010/104952              2009              2010
  (“Mazar”)
  U.S. Patent Appl. Publ.     May 1, 2008       March 31,       102(b)    1004
  No.                                           2011
  2011/0077497(“Oster”)
  U.S. Patent No.             May 24, 2012      June 30, 2016   102(b)    1005
  11,116,447 (“Yang”)

       Below are the specific statutory grounds on which the claims are challenged:

  Ground                       Reference                                Claims
    1         Mazar in view of Yang                              1–20
      2       Oster in view of Yang                              1–20

       None of the references on which these grounds are based was applied by the

 Examiner during prosecution of the ’743 patent.

              3.    Level of Ordinary Skill in the Art

       A POSITA of the technology described in the ’743 patent in 2013 would

 have had a bachelor’s degree in cardiovascular medicine, electrophysiology,

 internal medicine, electrical engineering or an equivalent degree, and two to three

 years of clinical experience in the field of biomedical engineering. Ex. 1002, ⁋ 43.

 Alternatively, a POSITA of the technology described in the ’743 patent in 2013

 would have had two or more years of medical work with knowledge of the



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 electronic design and operation of cardiac monitoring technologies. Id.

                4.   § 42.104(b)(5): Evidence Supporting Challenge

        The Declaration of Dr. Joseph Akar (Ex. 1002) (“Akar”) and other

 supporting evidence in the Exhibit List are filed herewith. Dr. Akar’s background

 and qualifications, and the information provided to him, are discussed in Ex. 1002

 and 1006.

 IV.    INSTITUTION SHOULD BE GRANTED

        This Petition establishes a reasonable likelihood of success on the merits and

 all other requirements for an IPR.

        No ground presented here was considered by the Examiner or otherwise

 previously considered by the Patent Office. For the reasons set forth in detail

 below, there is a reasonable likelihood that at least one of the Challenged Claims

 are unpatentable.

        The parties are currently litigating the ’743 patent in an action brought on

 March 18, 2022, by Bardy Diagnostics, Inc. (“Bardy” or “Patent Owner”). Bardy

 Diagnostics, Inc. v. Vital Connect, Inc., Case No. 1:22-cv-00351-CJB (D. Del.)

 (“Delaware Action”).

        Application of the factors in Apple Inc. v. Fintiv, Inc., Case No. IPR2020-

 00019, Paper No. 11 (Mar. 20, 2020) weigh against discretionary denial of IPR

 institution.


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        First, the district court proceeding is in its early stages. Bardy served

 Petitioner with its original complaint in the Delaware Action approximately nine

 months ago. But the case was slow to start and discovery did not open until

 November 2022. No claim construction positions or fact discovery has been

 exchanged. Is currently set for November 18, 2024, well after a final written

 decision in this IPR. Moreover, statistics show that the median time to trial is 36

 months in Delaware.

 https://www.uscourts.gov/sites/default/files/fcms_na_distcomparison0630.2022_0.

 pdf at p. 3.

        Second, Petitioner has been diligent in expeditiously preparing and filing

 this Petition. A Markman hearing has been scheduled in the Delaware action for

 September 2023, and it is unlikely the Court will have issued its claim construction

 order by the institution deadline.

        Third, the grounds asserted in this Petition are exceptionally strong. The

 Petition shows that the ’743 patent claims nothing more than conventional wireless

 patch features, and there are multiple grounds of invalidity for each Challenged

 Claim. This factor alone is sufficient to avoid any discretionary denial. See,

 Director Vidal June 21, 2022 Memorandum re Fintiv.

        Accordingly, IPR should be instituted.




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 V.    THERE EXISTS A REASONABLE LIKELIHOOD THAT THE
       CHALLENGED CLAIMS ARE UNPATENTABLE

              Technology Background
       The ’743 patent is entitled “Electrocardiography Patch” and discloses and

 claims a wearable patch for wireless, electrocardiography monitoring. As

 explained by Dr. Akar’s, the field of electrocardiography monitoring was well-

 established and built upon the understanding of well-known physiological

 monitoring techniques by the ’743 patent’s priority date. Ex. 1002, ⁋⁋ 23-32, 47-

 52, 60-64, 69-104. It was a crowded art that employed well understood concepts

 that were predictable, and routinely mixed and matched to achieve a POSITA’s

 design goals. Id.

              1.     ’743 Patent Background

       The ’743 patent assumes a POSITA understands basic biomedical principles.

 For example, an electrocardiogram (ECG) measures and records electrical signals

 from the heart to diagnose heart problems and other potential health concerns. Ex.

 1001, 1:29-31, 43-44; Ex. 1002, ⁋⁋ 24-32, 49-50. An ECG reader includes

 electrodes placed on the patient’s skin to sense cardiac electrical activity. Ex.

 1001, 1:34-42; Ex. 1002, ⁋⁋ 25, 30-32.

       A typical ECG is recorded over 12 seconds, which could be insufficient to

 completely diagnose many cardiac disorders. Ex. 1001,1:44-59; Ex. 1002, ⁋ 51.



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 Diagnostic efficacy can be improved with long-term extended ECG monitoring.

 Ex. 1001, 1:44-49, 60-61; Ex. 1002, ⁋ 51. The patent describes prior art Holter

 monitors, which allow for extended monitoring of 24-48 hours or more. Ex. 1001,

 2:36-57; Ex. 1002, ⁋ 51. The patent, however, criticizes these devices as

 cumbersome, expensive, and only able to provide limited recording. Id.

       The ’743 patent describes the prior art “ZIO XT Patch” and the “ZIO Event

 Card,” which can meet the recognized “gold standard” of a 30-day observation

 period. Ex. 1001, 2:58-3:18, 1:65-2:2; Ex. 1002, ⁋ 52. The ’743 patent explains

 that the ZIO XT Patch “combines both electronic recordation components,

 including battery, and physical electrode into a unitary assembly that adheres to the

 patient’s skin.” Ex. 1001, 2:67-3:8; Ex. 1002, ⁋ 52. The ’743 patent criticizes the

 ZIO XT Patch’s battery capacity and lack of waterproof electronics. Ex. 1001,

 3:8-15; Ex. 1002, ⁋ 52. The ’743 patent also recognizes that many prior art

 consumer devices enable users to record physiological information and that the

 concept is so well-known that it had been established as the “quantified self”

 movement. Ex. 1001, 3:19-35; Ex. 1002, ⁋ 52.

              2.    Problem Addressed by the ’743 Patent

       The ’743 patent asserts “a need remains for an extended wear continuously

 recording ECG monitor practically capable of being worn for a long period of time

 in both men and women and capable of recording atrial signals reliably.” Ex.


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 1001, 3:36-39; Ex. 1002, ⁋ 53. As well as a need “to integrate wider-ranging

 physiological and ‘life tracking’-type data into long-term ECG and physiological

 data monitoring.” Ex. 1001, 3:40-42; Ex. 1002, ⁋ 53.

             The Alleged Invention

       The ’743 patent describes an ECG monitoring patch comprising two primary

 components: a flexible extended wear electrode patch and a removable reusable

 monitor recorder. Ex. 1001, 3:45-49; Ex. 1002, ⁋ 54. Fig. 4 (below) shows the

 ECG sensor monitor 12 including a monitor recorder 14 and an electrode patch 15.

 Ex. 1001, Fig. 4; 5:44-61; Ex. 1002, ⁋ 54.




       The monitor 12 comprises a narrow mid-section 23 purportedly to benefit

 the long-term extended wear. Ex. 1001, 3:51-56; Ex. 1002, ⁋ 55. The patient can



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 place an electrode patch anywhere within the general region of the sternum, which

 puts the ECG electrodes in a location better adapted to sensing signals from the

 heart. Ex. 1001, 6:1-15; Ex. 1002, ⁋ 55.

       The patch 15 has a flexible backing 20 shaped as an elongated strip 21 and a

 removable battery compartment 36. Ex. 1001, 9:55-10:10; Ex. 1002, ⁋ 56.

       To address the insufficient memory issues of prior art systems, the ’743

 patent describes compressing the monitored data prior to storage in flash memory

 62 while space remains available. Ex. 1001, 13:60-14:10; Ex. 1002, ⁋ 57. The

 monitored data is wirelessly offloaded to a remote server. Ex. 1001, 15:2-29; Ex.

 1002, ⁋ 57.

               Prosecution History

       The ’743 patent stems from Application No. 17/119,945, filed on December

 11, 2020, and claims priority to a September 25, 2013, Provisional Application

 (No. 61/882,403). Facing no substantive prior art rejections, the ’743 patent was

 allowed after a single-office action, which merely rejected the pending claims

 based on double patenting over its parent 10,888,239. Ex. 1007, pp. 175-180

 (January 25, 2021, Office Action). The Examiner explained that compared to the

 ‘239 patent, the claims were not patentably distinct because “[t]he skilled artisan

 would recognize narrowing a mid-section between the two ends of a backing

 obviously reduces weight by eliminating unnecessary material.” Id. at 178. The


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 Examiner concluded that it was similarly “obvious to provide an accelerometer to

 measure movement and a hydrocolloid adhesive to attach the device to a patient.”

 Id. Bardy did not rebut these assertions and submitted a terminal disclaimer to

 overcome the rejection. Id., pp. 104-105 (Response to First Office Action). A

 Notice of Allowance followed.. Id. p. 15 (ANotice of Allowance). The ’743

 patent issued on July 6, 2021. Id. p. 4 (Issue Notification).

              Claim Constructions

       IPR claims are construed “in accordance with the ordinary and customary

 meaning of such claim as understood by one of ordinary skill in the art and the

 prosecution history pertaining to the patent.” 42 C.F.R. §42.100(b).

       Petitioner one proposed claim construction to address an argument raised by

 Bardy. Petitioner does not believe that any other constructions are needed to

 address the validity issues raised in this petition. See, e.g., Netflix, Inc. v. Uniloc

 2017 LLC, Case No. IPR2020-00041, Paper No. 10 at 15 (Mar. 25, 2020).

 Petitioner reserves the right to respond to any constructions offered by Bardy.

              1.     “a battery on one of the ends of the backing” (Claim 11)

       The term “a battery on one of the ends of the backing” of claim 11 should be

 construed according to its plain and ordinary meaning. Ex. 1002, ¶ 106. In the

 parties’ litigation, Bardy has argued that the term should be construed to exclude

 intervening components between the battery and the backing, which is incorrect. If


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 the term is construed, it means “a battery on one end of the backing or the other

 end of the backing” and it does not require the battery to be affixed to the backing

 with no intervening components. Ex. 1002, ¶¶ 107-108.

       In response to the Complaint, Petitioner’s counsel wrote a letter to Bardy on

 May 2, 2022, inter alia, detailing that the subject patent is invalid as anticipated or

 obvious, for example, in view of the Mazar reference cited herein. See Ex. 1018,

 5-10 Bardy’s counsel responded on May 24, 2022, arguing that the claims

 distinguish from the prior art Mazar reference because the Mazar publication

 describes the batteries (150) as ‘separated from’ the backing (111) and ‘positioned

 over the flex printed circuit board and electrical components.’” Ex. 1018, 1-4.

       Contrary to Bardy’s arguments, the term is directed to the general

 positioning of the battery on the body of the patch. Ex. 1002, ¶ 109. The claim

 phrase does not say “a battery on the backing;” it says “a battery on one of the

 ends of the backing.” Id. This shows that “on” is governing the positioning of the

 battery relative to the ends of the backing, i.e., the battery is placed on one end or

 the other. Id. This is consistent with the overall context of the claim, in which

 “the ends” are claimed as “a backing comprising an elongated strip with a

 midsection connecting two ends of the backing.” Id. This language orients “the

 ends” relative to the elongate shape of the patch. Id. And the battery limitation

 places the battery on one end of the patch or the other. Id.


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          Bardy’s assertion that “on” requires direct contact between the backing and

 the battery is inconsistent with the intrinsic and extrinsic evidence. Ex. 1002,

 ¶ 110.

          The plain and ordinary meaning of “on” does not require direct contact for

 one object to be “on” another. Ex. 1002, ¶ 111. A coat can be hanging “on” a coat

 rack even if it is hanging directly “on” a hanger, which is in turn hanging “on” the

 rack. Id. Similarly, a book is “on” a table even it if sits on top of a stack of books,

 rather than directly contacting the surface of the table. Id.

          The intrinsic record supports Petitioner’s construction because it does not

 disclose a battery in direct contact with a backing. Ex. 1002, ¶ 112. The ’743

 patent describes its battery compartment 36 as formed on the bottom surface of the

 non-conductive receptacle 25. Ex. 1001, 10:5-6, Figs. 6, 8 (reproduced below);

 Ex. 1002, ¶ 112. This non-conductive receptacle is mounted to the flexible circuit

 32, which is, in turn, mounted on the backing. Ex. 1001, 10:20-29; Ex. 1002,

 ¶ 112.




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 The ’743 patent confirms that “[a] strain relief 40 is defined in the flexible circuit

 32 at a location that is partially underneath the battery compartment 36 when the

 flexible circuit 32 is affixed to the flexible backing 20.” Ex. 1001, 10:55-58; Ex.

 1002, ¶ 113. The ’743 patent’s own embodiment describes intervening

 components between the backing and the battery, specifically, the battery

 compartment 36 and the flexible circuit 32. Ex. 1002, ¶ 113. Notably, there are no

 embodiments in the ’743 patent where the battery is directly on the backing with

 no intervening components. Ex. 1002, ¶ 113; see Oatey Co. v. IPS Corp., 514 F.3d

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 1271, 1276-77 (Fed. Cir. 2008) ( “[w]e normally do not interpret claim terms in a

 way that excludes embodiments disclosed in the specification,”) ; see also

 Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1583 (Fed. Cir. 1996) (a claim

 interpretation that excludes a preferred embodiment is “rarely, if ever, correct”).

 Thus, the specification does not support Bardy’s narrow construction and mandates

 Petitioner’s proposed construction. Ex. 1002, ¶¶ 113-14.

              The ’743 Patent Claim Elements
       Claim 1 of the ’743 patent is set forth below with the elements labeled for

 reference:


   Element
                                                 Element
  Designation

    [1-PRE]       An electrocardiography patch, comprising:
      [1-A]       a backing comprising an elongated strip with a mid-section
                  connecting two ends of the backing, wherein the mid-section is
                  narrower than the two ends of the backing;
      [1-B]       an electrocardiographic electrode on each end of the backing to
                  capture electrocardiographic signals;
      [1-C]       a flexible circuit comprising a pair of circuit traces electrically
                  coupled to the electrocardiographic electrodes; and
      [1-D]       a wireless transceiver to communicate at least a portion of the
                  electrocardiographic signals.

       Claim 11 of the ’743 patent is set forth below with the elements labeled for

 reference:



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   Element
                                                 Element
  Designation

    [11-PRE]      An electrocardiography patch, comprising:
       [11-A]     a backing comprising an elongated strip with a mid-section
                  connecting two ends of the backing, wherein the mid-section is
                  narrower than the two ends of the backing;
       [11-B]     an electrocardiographic electrode on each end of the backing to
                  capture electrocardiographic signals;
       [1-C]      a flexible circuit comprising a pair of circuit traces electrically
                  coupled to the electrocardiographic electrodes;
       [11-D]     a wireless transceiver to communicate at least a portion of the
                  electrocardiographic signals;
       [11-E]     a battery on one of the ends of the backing;
       [11-F]     a processor powered by the battery; and
       [11-G]     memory electrically interfaced with the processor and operable
                  to store samples of the electrocardiographic signals.


 VI.    THE PRIOR ART

                Mazar
        Mazar discloses a patient health monitoring patch, and describes the

 collection and transmission of data from the device. Ex. 1003, ¶¶ [0006]-[0007],

 [0051]. Like the ’743 patent, Mazar criticizes prior art monitoring devices to be

 bulky and uncomfortable to use. Id., ¶¶ [0002]-[0005]. Mazar recognized that, in

 order to ensure consistent, comfortable health monitoring of patients, it was well-

 known to: (1) use a comfortable, adherent patch device; (2) that was capable of

 wirelessly outputting patient data. Id., ¶¶ [0002]-[0005]. Mazar’s patch

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 monitoring device provides solutions to these issues.

       Figs. 1E, 1F1, and 1J1 (below) are used to explain the operation of Mazar’s

 system:




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       The adherent device (100) preforms physiological monitoring, including the

 electrocardiogram (ECG), of a patent. Id. at ¶¶ [0002], [0098]. The electrodes

 (112A1, 112A2, 112A3, and 112A4) are affixed to the patch (110) to capture

 electrocardiographic signals. Id. at ¶ [0098].

       Mazar’s patch (110) has a backing (111) that comprises an hourglass shape

 that is narrower in the middle. Id. at ¶¶ [0093], [0127]; see also Fig. 1F1.

       Mazar’s electronics components (130) and communications circuitry (132)

 facilitate wireless communication of physiological data, including ECG data. Id. at

 ¶ [0104]-[0105]. Mazar discloses circuit traces to electrically couple the

 electrocardiographic electrodes. Id. at ¶ [0100]; see also Fig. 1D.

       Mazar further teaches that inclusion of a battery, processor, and memory for

 the storing of physiological signals. Id. at ¶¶ [0033], [0048], [0094]-[0095],


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 [0104], [0167].

              Oster
       Oster discloses a biomedical sensor system on a patch including electrodes

 for ECG monitoring and diagnostics. Ex. 1004, ¶ [0021]. The biomedical sensor

 system provides remote monitoring by transmitting data from the sensor to a

 receiver. Id., ¶ [0022].

       Figs. 1 and 2 illustrate the biomedical sensor system 100. Id., Figs. 1, 2.




 Fig. 1 (above) illustrates system 100 in a first, unstretched, state, and a second,

 stretched state. Id., ¶ [0030]. Fig. 1 shows the sensor system 100 including a hub

 102, two satellite electrodes 104, and two connectors 106 positioned to couple each

 satellite electrode 104 to the hub 102. Id., ¶ [0031]. The connectors 106 provide a

 pathway to send signals between the electrodes 104 . Id.

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       The hub 102 provides a single connection site for the biomedical sensor

 system 100. Id., ¶ [0032]. The hub 102 is disclosed as wirelessly communicating

 with downstream computing, processing, displaying and/or archiving equipment.

 Id. The hub 102 includes memory 116 to store information received from the

 electrodes 104 prior to transmitting (e.g., via wireless transmitter 108) to

 downstream computers. Id., ¶ [0040].

       Each electrode 104 has a surface electrode (e.g., disposable), a suction

 electrode, a floating metal body-surface electrode, a dry electrode, or a

 combination thereof. Id., ¶ [0043]. Oster discloses that a variety of lead

 configurations are well known for capturing an ECG (e.g., 3-lead, 5-lead, 12-lead).

 Id., ¶ [0029].




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 An adhesive couples the electrodes 104 (and/or the hub 102) to the subject’s skin.

 Id., ¶ [0062]. The adhesive is coupled (e.g., directly or indirectly) to at least a

 portion of the connector 106, such as one or more of the support members 164,

 166, which in turn functions as the “backing” to the stretch release adhesive. Id.,

 ¶ [0062]. As a result, the connector 106 (e.g., one or more of the support members

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 164, 166) includes one or more stretchable layers that can be stretched to a point

 that causes debonding of the adhesive. Id., ¶ [0062].

       The biomedical sensor system 100 is size-configurable and conformable to

 the subject 50, at least partially because of the variable-length connectors 106. Id.,

 ¶ [0051]. The connector 106 is partially formed of a viscoelastic material, such

 that by applying force to the connector 106 substantially along the length of the

 connector 106 (e.g., direction D1), the connector 106 can be elongated. Id.,

 ¶ [0051]. The connector 106 is illustrated in Fig. 2 as comprising a wire conductor

 162 positioned between a first support member 164, and a second support member

 166 to provide an electrical communication pathway between the hub 102 and the

 electrode 104. Id., ¶ [0057].

              Yang
       Yang is a prior art patent of Petitioner that discloses a modular wearable

 sensor patch attached to a user for health monitoring. Ex. 1005, Abstract, 2:24-50.

 Claiming priority over a year before the ’743 priority date, Yang discloses

 recognized that conventional wireless sensor devices for health monitoring are

 subject to repeated use and high wear and tear and must be replaced regularly for

 routine health monitoring. Id., 1:18-31; see also Ex. 1019. Yang proposed a

 wireless sensor device with a reusable module and a disposable module that each

 decouple from each other for ease of replacement. Ex. 1018, 2:35-40.


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       Fig. 1 illustrates the modular wearable sensor 100 that looks like a band-aid

 and adheres to the user’s body. Id., 2:50-57; Fig. 1 (shown below).




 Sensor 100 includes a disposable module 102, a flexible cover 104 coupled to the

 disposable module 102, and a reusable module 106 coupled to the disposable

 module 102. Id., 2:57-3:2.

       The disposable module 102 is soft, flexible, and stretchable to provide wear

 comfort when attached to the body, and can include the cover 104, foam layers, at

 least one power source (e.g., a coin battery or a button battery), a flexible printed

 circuit board (PCB) including electrical components such as sensors, electrode

 contacts to couple electrodes, and adhesive layers. Id., 3:16-28, 41-45.


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       The reusable module 106 houses other reusable electronics including an

 antenna, a microcontroller, a sensor, and a wireless transceiver. Id., 3:29-39.

       Fig. 3 illustrates an exploded view of a disposable module 300.




 The disposable module 300 includes a top cover layer 302, a top foam layer 304

 coupled to the top cover layer 302, a flexible PCB 306 coupled to the top foam

 layer 304, a bottom foam layer 308 coupled to the flexible PCB 306, and at least

 two electrodes 310 coupled to the flexible PCB 306. Id., 3:63-4:2. The flexible


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 PCB 306 enables the disposable module 300 to conform and adhere to a user’s

 movements. Id., 3:2-4.

       The bottom foam layer 310 can be a double-adhesive layer to adhere to the

 flexible PCB 306 and to a user at the same time. Id., 3:9-11.

              Motivation to Combine Mazar and Yang
       A POSITA would have found it obvious to combine the systems and

 methods of Mazar and Yang. Ex. 1002, ¶¶ 91-97.

       A POSITA would have been aware of a variety of known wireless sensor

 devices for remote health monitoring, like each of the biomedical sensor systems

 disclosed in Mazar and Yang. Id. A POSITA would have combined the various

 features of Mazar and Yang to provide additional cost-effective features to provide

 a comfortable, adherent patch device, as highlighted separately by each reference.

 Id.

       Each of Mazar and Yang address problems of conventional at-home patient

 monitoring patches that each references with an eye towards improving, among

 other things, comfort and/or durability. Ex. 1002, ¶ 93; Ex. 1003, ¶ [0007]; Ex.

 1005, 1:18-32. Each reference proceeds to then detail the benefits of its cost-

 effective adhesive patch, particularly in the context of health monitoring and, even

 more specifically, for measuring electrocardiography. Ex. 1002, ¶ 93; Ex. 1003,

 ¶ [0026]; Ex. 1005, 1:22-25.


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       In fact, a POSITA would recognize that Yang discloses a simple structure

 that is more cost-effective and easier to create than the multi-component system of

 Mazar, for example. Ex. 1002, ¶ 94. Therefore, just as the Examiner asserted

 during prosecution of the ’743 patent, a skilled artisan would recognize that

 minimizing additional components of Mazar, such as taught by Yang, can reduce

 weight by eliminating unnecessary material. Id. Additionally, a skilled artisan

 would recognize that a reduction of the backing’s size (i.e., footprint) is beneficial

 for the patient’s comfort and to reduce patient skin irritation. Id.

       Furthermore, Yang discloses that a POSITA would be aware of the variety of

 device types that can be used for the reusable module 106, containing the processor

 and other electronics, and the disposable module 102, which includes, for example,

 known batteries and/or adhesives. Ex. 1002, ¶ 95; Ex. 1005, 3:40-45. Mazar

 confirms these components are well-known and, like Yang, details the advantages

 of the particular arrangement of these components. Ex. 1002, ¶ 95; Ex. 1003, e.g.,

 ¶ [0125].

       Given the fact that these references are both directed to solving the same

 problem in the same application, a POSITA would recognize that the two systems

 can be used together to create a compatible, integrated solution to that common

 problem identified by each reference without requiring undue experimentation.

 Ex. 1002, ¶ 96. Further motivations to combine the references are described below


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 with respect to the specific grounds.

              Motivation to Combine Oster and Yang
       A POSITA would have found it obvious to combine the systems and

 methods of Oster and Yang. Ex. 1002, ¶¶ 98-104.

       A POSITA would have been aware of a variety of known wireless sensor

 devices for remote health monitoring, like each of the biomedical sensor systems

 disclosed in Oster and Yang. Id. A POSITA would have combined the various

 features of Oster and Yang to provide additional cost-effective features to provide

 a comfortable, adherent patch device, as highlighted separately by each reference.

 Id.

       Each of Oster and Yang recognizes the importance of comfort and durability

 for a patch intended for regular use. Ex. 1002, ¶ 100; Ex. 1004, ¶ [0023]; Ex.

 1005, 1:18-32. Each reference details the goals of creating a cost-effective

 adhesive patch, particularly in the context of health monitoring and, even more

 specifically, for measuring electrocardiography. Ex. 1002, ¶ 100; Ex. 1004,

 ¶¶ [0023]-[0025]; Ex. 1005, 1:22-25.

       In fact, a POSITA would recognize that Yang discloses a simple structure

 with the goal of creating a cost-effective biomedical sensor. Ex. 1002, ¶ 101; Ex.

 1005, 1:22-25. Similarly, Oster expressly teaches reducing the waste created in

 manufacturing and constructions of diagnostic patches to enhance safety and


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 subject comfort. Ex. 1002, ¶ 101; Ex. 1004, ¶¶ [0023]-[0024]. Therefore, a skilled

 artisan would recognize that minimizing additional components of a biomedical

 sensor, such as taught by both references, can enhance safety, comfort, and ease of

 use. Ex. 1002, ¶ 101.

       Furthermore, Yang discloses that a POSITA would be aware of the variety of

 device types that can be used for the reusable module 106, containing the processor

 and other electronics, and the disposable module 102, which includes, for example,

 known sensors for measuring a variety of health related values including ECG and

 respiratory rates. Ex. 1002, ¶ 102; Ex. 1005, 4:9-15. Oster confirms these

 components are well-known and, like Yang, details the variety of lead

 configurations that can be used, for example, for an ECG, such as the arrangement

 disclosed in the ’743 patent. Ex. 1002, ¶ 102; Ex. 1004, e.g., ¶ [0029].

       Given the fact that these references are both directed to solving the same

 problem in the same application, a POSITA would recognize that the two systems

 can be used together to create a compatible, integrated solution to that common

 problem identified by each reference without requiring undue experimentation.

 Ex. 1002, ¶ 103. Further motivations to combine the references are described

 below with respect to the specific grounds.




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 VII. CLAIMS 1-20 OF THE ’743 PATENT ARE UNPATENTABLE OVER
      THE PRIOR ART

                GROUND 1: Mazar In View of Yang Renders Claims 1-20
                Obvious

          A POSITA would have found it obvious and predictable to combine features

 of Mazar’s adherent patch device with the teachings of Yang to achieve a patch

 with the particular advantages of components as taught in each of the references, as

 explained in Section VI.D above and further below. Ex. 1002 ¶¶ 91-97.

                1.    Independent Claim 1

          Mazar and Yang disclose the method of Claim 1 as described below with

 reference to the Claim element designations. See Section V.E.

                             a)     Element [1-PRE]

          Mazar and Yang are in the same field and both disclose “[a]n

 electrocardiography patch” as claimed by this element. Mazar discloses an

 adherent patch device capable of physiological monitoring patients, including

 measuring the electrocardiogram (ECG), for extended periods. Ex. 1003,

 ¶¶ [0002], [0098]; see also Fig. 1F1; Ex. 1002 ¶ 121. Similarly, Yang discloses a

 modular wearable sensor device in a “patch” form that is attached to the user for

 health monitoring, such as for ECG measurements. Ex. 1005, 2:24-50; Ex. 1002

 ¶ 122.

          A POSITA would understand that both Mazar and Yang disclose this



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 element. Ex. 1002, ¶¶ 121-122.

                           b)     Element [1-A]

       Mazar and Yang disclose “a backing comprising an elongated strip with a

 mid-section connecting two ends of the backing.” Ex. 1002 ¶¶ 124, 126. And

 Mazar further discloses an elongated patch having a “mid-section [that] is

 narrower than the two ends of the backing.” Ex. 1002 ¶ 124. Mazar teaches that

 its adherent device 100 includes an adherent patch 110, which includes a backing

 material, or backing 111, such as fabric configured to provide properties of patch

 110. Ex. 1003, ¶¶ [0098], [0127]; Ex. 1002 ¶ 124. Fig. 1F1 (below), for example,

 further shows that the adherent patch and its backing comprise an hourglass shape

 with two ends joined by a narrower midsection. See Ex. 1003, ¶ [0093] Ex. 1002,

 ¶ 124. Furthermore, while Fig. 1F1 shows a top view, the cross-section of Fig. 1I1

 (below) shows that backing 111 on the bottom of the device extends to the full

 width of top layer 164. Thus, a POSITA would understand that Mazar discloses an

 elongated strip with a mid-section that connects and is narrower than two ends of

 the backing. Ex. 1002. ¶ 124.




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       Moreover, the Examiner correctly recognized that a narrowed mid-section is

 obvious because “[t]he skilled artisan would recognize narrowing a mid-section

 between the two ends of a backing obviously reduces weight by eliminating

 unnecessary material.” Ex. 1007, p. 178 (January 25, 2021, Office Action); Ex.

 1002, ¶ 125. Thus, it would similarly be obvious to a POSITA to use a narrowing

 in a patch combining the teachings of Mazar and Yang for that reason. Ex. 1002,

 ¶ 125. Mazar also discloses a backing that is an elongated strip. A POSITA would


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 view an elongated strip design as a “standard of care” and common sense. Ex.

 1002, ¶ 125. Most clinically-used monitors have an elongated strip design—even

 implantable recorders are elongated in shape. Id. Thus, a POSITA would

 understand that Mazar discloses an elongated strip with a mid-section that connects

 and is narrower than two ends of the backing. Id. This is because in addition to

 the reduction of weight and the elimination of unnecessary material, reducing

 excess material will increase patient comfort by reducing the area covered by the

 patch and allowing patch to twist more easily and therefore conform to the

 movement of the patient. Id.

       A POSITA would further understand that Yang discloses a backing

 comprising an elongated strip with two ends. Ex. 1002, ¶ 126. The fact that both

 Mazar and Yang relate to patches shaped as elongated strips further demonstrates

 their compatibility. Id. Mazar further shows patch backings with and without

 narrowing, further showing the compatibility of the two designs. Id.

                           c)    Element [1-B]

       Mazar and Yang disclose “an electrocardiographic electrode on each end of

 the backing to capture electrocardiographic signals.” Mazar expressly teaches that

 the patch comprises two electrodes to measure the ECG of the patient. Ex. 1003,

 ¶ [0098]; Fig. 1B; Ex. 1002, ¶ 128. As shown, for example, in Fig. 1B, at least two

 electrodes (e.g., 112A and 112D) are positioned on each end of the backing of the


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 adherent patch:




       A POSITA would understand that at least Mazar discloses this element and

 that it would be obvious to employ electrodes on each end of the backing in its

 various embodiments. Ex. 1002, ¶¶ 30, 62, 128, 129.

       Further, demonstrating the fact that the number of electrodes can be varied

 to achieve trade-offs between complexity, cost and functionality, Yang discloses an

 embodiment with just two electrodes 310 positioned on each end of the backing of

 the adherent patch. Ex. 1005, 3:2-4, 63-4:2, Fig. 3 (reproduced below); Ex. 1002,

 ¶ 130. Placing two electrodes on opposite ends of the backings optimizes the

 spread of the electrodes, while minimizing the cost and complexity that would

 arise from adding more than two electrodes. Ex. 1002, ¶ 130.




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       A skilled artisan would view an electrocardiographic electrode on each end

 of the backing as a “standard of care.” Ex. 1002, ¶ 131. Thus, POSITA would

 understand that Mazar and Yang, either alone or in combination, discloses this

 element. Id.

                           d)     Element [1-C]

       Mazar discloses “a flexible circuit comprising a pair of circuit traces

 electrically coupled to the electrocardiographic electrodes.” Mazar expressly



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 teaches a flex printed circuit board 120 includes a pair of traces 123A, 123D to

 connect to electrodes 112A, 112D, respectively. Ex. 1003, ¶ [0100]; Fig. 1D; Ex.

 1002, ¶ 133.




       132.135.     It is well understood that a circuit trace is necessary to connect

 to the electrodes to the processor to record the relevant data. Ex. 1002, ¶134. A

 POSITA would understand that Mazar discloses this element. Id.

       Yang similarly teaches a flexible PCB 306 coupled to a top foam layer 304

 and a bottom foam layer 308. Ex. 1005, 3:63-4:2, Fig. 3 (reproduced below); Ex.

 1002, ¶ 135.




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 The flexible PCB 306 is coupled to at least two electrodes 310 and enables the

 disposable module 300 to conform and to adhere to a user’s movements. Ex. 1005,

 4:2-4; Ex. 1002, ¶ 136. Yang also teaches that the flexible PCB 306 and bottom

 foam layer 308 each have two openings to allow for the coupling of the at least two

 electrodes 310 to the flexible PCB 306. Ex. 1005, 4:39-42; Ex. 1002, ¶ 136. A

 POSITA would readily understand that Yang’s teaching to provide an electrical

 coupling of the electrodes to the PCB would necessarily include a pair of circuit


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 traces, such as taught by Mazar. Ex. 1002, ¶ 136. All electronic devices,

 including those used in cardiac electrophysiology such as ablation and recording

 catheters and pacemakers and defibrillators, have circuit traces on their circuit

 boards. Id. Indeed, a printed circuit board is, by definition, a board with printed

 traces to connect circuit elements. Id.

       A POSITA would understand that Mazar and Yang, either alone or in

 combination, discloses this element. Ex. 1002, ¶ 137.

                            e)     Element [1-D]

       Mazar and Yang disclose “a wireless transceiver to communicate at least a

 portion of the electrocardiographic signals.” Mazar teaches that the device 100 can

 include electronics components 130, such as a wireless communications circuitry

 132. Ex. 1003, ¶¶ [0104], [0105]; Ex. 1002, ¶ 139. Specifically, Mazar discloses

 that the “wireless communication circuitry is configured to transmit the hydration

 signal, the electrocardiogram signal and the inclination signal to the remote center

 with a single wireless hop, for example from wireless communication circuitry 132

 to intermediate device 102.” Ex. 1003, ¶ [0105]; Ex. 1002, ¶ 139. Similarly, Yang

 discloses a wireless sensor. Ex. 1005, 2:48-55; Ex. 1002, ¶ 139. Wireless

 communication of cardiac electrical signals existed in implantable devices well

 before 2013. Ex. 1002, ¶ 139. A POSITA would understand that Mazar and Yang

 discloses this element. Ex. 1002, ¶ 139.


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              2.     Independent Claim 11

       Claim 11 is an independent claim that differs from Claim 1 as shown in the

 comparison below.

  Claim 1                                    Claim 11
  An electrocardiography patch,              An electrocardiography monitor,
  comprising:                                comprising:

  a backing comprising an elongated          a backing comprising an elongated
  strip with a mid-section connecting two    strip with a mid-section connecting two
  ends of the backing, wherein the mid-      ends of the backing, wherein the mid-
  section is narrower than the two ends      section is narrower than the two ends
  of the backing;                            of the backing;

  an electrocardiographic electrode on       an electrocardiographic electrode on
  each end of the backing to capture         each end of the backing to capture
  electrocardiographic signals;              electrocardiographic signals;

  a flexible circuit comprising a pair of    a flexible circuit comprising a pair of
  circuit traces electrically coupled to the circuit traces electrically coupled to the
  electrocardiographic electrodes; and       electrocardiographic electrodes;

  a wireless transceiver to communicate      a wireless transceiver to communicate
  at least a portion of the                  at least a portion of the
  electrocardiographic signals.              electrocardiographic signals;

                                             a battery on one of the ends of the
                                             backing;

                                             a processor powered by the battery;
                                             and

                                             memory electrically interfaced with the
                                             processor and operable to store samples
                                             of the electrocardiographic signals.

       As can be seen from the table, the only material difference between claims 1


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 and 11 is the further recitation of basic elements required to make a wireless patch

 function, namely, the battery, the processor, and the memory. These basic

 elements are disclosed in the prior art shown below. Moreover, although the

 preamble slightly deviates between claims 1 and 11, a POSITA would understand

 that the electrocardiographic patch claimed by Claim 1 is an electrocardiographic

 monitor of Claim 11 and, thus, the different words in the preamble do not

 materially change the scope of preambles between Claims 1 and 11. Ex. 1002,

 ¶¶ 115-117, 140.

                            a)    Element [11-E]

       Mazar and Yang disclose “a battery on one of the ends of the backing.”

 Mazar discloses that the device 100 includes a battery coupled to the electronic

 components. Ex. 1003, ¶¶ [0031], [0033], [0094]; Ex. 1002, ¶ 141. For example,

 Fig. 1E shows batteries 150 positioned over the flex printed circuit board and

 electronic components, which are on the left and right ends of the backing. Ex.

 1003, ¶¶ [0113], [0094], [0064]; Ex. 1002, ¶ 141. Like the ’743 patent, these

 batteries are intended to be removed and/or replaced when the replaceable patch is

 replaced. Id. A POSITA would understand that Mazar discloses this element. Ex.

 1002, ¶ 141.

       Furthermore, while Mazar discloses that an air gap “may” be present

 between the patch 110 and the printed circuit board, a POSITA would understand


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 that teaching to be optional, as the language expressly states. Ex. 1003, ¶ [0145];

 Ex. 1002, ¶ 142. For example, while the air gap might enhance breathability, the

 failure to secure the printed circuit board to the backing could result in discomfort

 as the printed circuit board and backing move separately and stress one another.

 Ex. 1002, ¶ 142. This movement between the electrode and backing could also

 cause the metal in the electrode to introduce wear or tears in the backing. Id.

 Thus, a POSITA would find it obvious to alternatively use the arrangement in

 Yang where the battery 318 is positioned directly on the flexible PCB 306, which is

 on the backing 308 with no intervening air gap. Ex. 1005, 3: 63-4:2, 4:28-38, Fig.

 3 (reproduced below); Ex. 1002, ¶ 142. Furthermore, putting the battery on the

 ends of the backing, rather than the middle, is a simple design choice that can be

 readily selected by a POSITA. Ex. 1002, ¶ 142. This placement would be

 particularly obvious in a patch with a narrowed middle, which would reduce the

 space available for a battery. Id.




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 Just like the ’743 patent, Yang teaches that its battery 318 is housed on the

 replaceable portion of its patch (the disposable module 102 of Yang and/or the

 replaceable extended wear electrode patch of the ’743 patent) and on one end of

 the backing. Ex. 1005, Fig. 3, 3:63-4:2, 4:28-38; Ex. 1002, ¶ 143. And similar to

 the ’743 patent, Yang also teaches that its health monitoring device is cost-efficient

 because the reusable portion can be separated from the disposable portion (which

 houses the battery) and fitted with a new replacement disposable portion to extend


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 its lifetime. Ex. 1005, 5:41-53; Ex. 1002, ¶ 143. A POSITA would readily

 understand that Yang’s teaching to reuse elements of the patch (such as the

 electronics) and replace other elements of the patch (such as the battery and the

 patch body), would improve the cost effectiveness of a disposable portion of a

 health monitoring device, such as that of Mazar, which would include the

 consumable battery and create a product that is less wasteful. Ex. 1002, ¶ 143.

       A POSITA would understand that Mazar and Yang, either alone or in

 combination, discloses this element. Ex. 1002, ¶ 144.

                            b)    Element [11-F]

       Mazar and Yang disclose “a processor powered by the battery.” Mazar

 teaches that the device 100 includes a processor 262 that is powered by the battery.

 Ex. 1003, ¶ [0167]; Ex. 1002, ¶ 145. A POSITA would understand that at least

 Mazar discloses this element. Ex. 1002, ¶ 145.

       Yang similarly discloses an electrical component unit 510 for “processing of

 information collected by the at least two electrodes.” Ex. 1005 4:67-4; Ex. 1002,

 ¶ 145. A POSITA would understand that the most obvious way to embody this

 through a processor that is powered by the battery. Ex. 1002, ¶ 145. Thus, a

 POSITA would understand that the combination of Mazar and Yang along with the

 commonsense knowledge of a POSITA discloses this element. Ex. 1002, ¶ 145.




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                           c)     Element [11-G]

       Mazar discloses “memory electrically interfaced with the processor and

 operable to store samples of the electrocardiographic signals.” Mazar teaches that

 the device 100 includes a memory in communication with a processor for storing

 the physiological signals. Ex. 1003, ¶¶ [0048], [0095], [0104]; Ex. 1002, ¶ 146.

 The storage of samples of cardiac electrical signals has long been understood and

 practiced for decades. See, e.g., Ex. 1005 5:23-31 (explaining a POSITA would

 recognize the suitable addition of memory to the disclosed patch); Ex. 1002, ¶ 146.

 A POSITA would understand that at least Mazar discloses this element and that it

 would be an obvious addition to an electrocardiograph monitor. Ex. 1002, ¶ 146.

 Moreover, the common typical operation of a processor requires corresponding

 memory that stores data while it is being input, output, and processed by the

 processor. Id. Thus, storing data such as cardiac signals in a processor based

 system is the most obvious thing to do. Id.

             3.     Claims 2 and 12

       Claim 2 depends on Claim 1 and further requires that the ECG patch

 includes “an accelerometer provided on the backing.” Similarly, Claim 12 depends

 on Claim 11 and further requires that there is “an accelerometer provided on the

 backing.”

       In addition to the electrodes, Mazar teaches that the device 100 can include


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 electronics components 130, such as an activity sensor and activity circuitry 134.

 Ex. 1003, ¶¶ [0015], [0107]; Ex. 1002, ¶ 148. Specifically, Mazar confirms that

 the activity sensor and activity circuitry 134 can comprise many known activity

 sensors and circuitry, such as, an accelerometer, a piezoelectric accelerometer,

 capacitive accelerometer, or an electromechanical accelerometer. Id. Activity

 sensors have long been understood and practiced for decades. Ex. 1002, ¶ 148. A

 POSITA would understand that Mazar discloses this element and given the

 popularity of the quantified life movement by the priority date of the ’743 it would

 be obvious to a POSITA to include an accelerometer in this sort of patch. Ex.

 1002, ¶ 148.

                4.   Claims 3 and 13

       Claim 3 depends on claim 1 and further requires that the ECG patch includes

 “a physiology sensor provided on the backing to measure body temperature.”

 Similarly, Claim 13 depends on Claim 11 and further requires “a physiology sensor

 provided on the backing to measure body temperature.”

       Mazar expressly teaches that the device 100 can include electronics

 components 130 and a memory for storing physiologic signals. Ex. 1003,

 ¶¶ [0048], [0095]; Ex. 1002, ¶ 150. Specifically, Mazar enumerates several

 examples that include a temperature sensor. Id. Temperature sensors have long

 been understood and practiced for decades. Ex. 1002, ¶ 150 (citing Ex. 1008-


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 1009). A POSITA would understand that at least Mazar discloses this element and

 given the popularity of the quantified life movement by the priority date of the

 ’743 it would be obvious to a POSITA to include a temperature sensor in this sort

 of patch. Ex. 1002, ¶ 150.

              5.    Claims 4 and 14

       Claim 4 depends on claim 1 and further requires that “each of the ends of the

 backing is rounded on an outer edge.” Claim 14 depends on claim 11 and further

 requires “each of the ends of the backing [to be] rounded on an outer edge.”

       Mazar discloses that the device 100 can comprise many shapes, such as a

 dog bone or an hourglass, which shapes are rounded on the outer edges. Ex. 1003,

 ¶ [0093]; Fig. 1F1; Ex. 1002, ¶152. A POSITA would understand that at least

 Mazar discloses this element. Ex. 1002, ¶152. It would be obvious to use rounded

 edges for comfort of the patient and for aesthetic reasons. Id. For example, the

 corners of squared off edges have a tendence to peel off since they come to a point.

 Id.

              6.    Claims 5 and 15

       Claim 5 depends on claim 1 and further requires “a physiology and activity

 sensor provided on the backing to measure one or more of heart rate, temperature,

 blood pressure, movement, sleep, footsteps, calories burned and estimated blood

 glucose level.” Claim 15 depends on claim 11 and further requires “a physiology


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 and activity sensor provided on the backing to measure one or more of heart rate,

 temperature, blood pressure, movement, sleep, footsteps, calories burned, and

 estimated blood glucose level.”

       Like claims 3 and 13, Mazar expressly teaches that the device 100 can

 include electronics components 130 and a memory for storing physiologic signals.

 Ex. 1003, ¶¶ [0013], [0014], [0048], [0095]; Ex. 1002, ¶154. Specifically, Mazar

 teaches that the plurality of sensors include a heart rate sensor, a blood pressure

 sensor, a sleep sensor, a temperature sensor, and so on, as claimed. Id. Physiology

 and activity sensors measuring one or more of heart rate, temperature, blood

 pressure, movement, sleep, footsteps, calories burned and estimated blood glucose

 level have long been understood and practiced for decades. Ex. 1002, ¶ 154 (citing

 Ex. 1008-1012). A POSITA would understand that at least Mazar discloses this

 element and, given the popularity of the quantified life movement by the priority

 date of the ’743, it would be obvious to a POSITA to include these sorts of sensors

 in this sort of patch. Ex. 1002, ¶ 154.

              7.     Claims 6 and 16

       Claim 6 depends on claim 1 and further requires that “the

 electrocardiographic signals are converted to a different format and processed.”

 Claim 16 depends on claim 11 and further requires “the electrocardiographic

 signals [to be] converted to a different format and processed.”


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       Mazar discloses that the device 100 includes a processor configured to

 process data received from the sensors and to display information regarding the

 data. Ex. 1003, ¶¶ [0013], [0104]; Ex. 1002, ¶ 156. Specifically, Mazar teaches

 that at step 435, the signals from the sensors are processed in many known ways,

 for example, to generate at least one of a derived signal, a time averaged signal, a

 filtered signal, or so on. Ex. 1003, ¶¶ [0013], [0104], [0197]; Ex. 1002, ¶ 156.

 Mazar further discloses that at step 445, these processed signals are transmitted to

 a remote site. Ex. 1003, ¶¶ [0013], [0104], [0199]; Ex. 1002, ¶ 156. The

 conversion of electrocardiographic signals to a different format and processed has

 long been understood and practiced for decades. Ex. 1002, ¶ 156 (citing Ex. 1008,

 1013). A POSITA would understand that at least Mazar discloses this element.

 Ex. 1002, ¶ 156.

              8.    Claims 7 and 17

       Claim 7 depends on claim 6, which depends on claim 1, and further recites

 that “the formatted electrocardiographic signals are retrieved by one of a server, a

 client computer and a mobile device via the wireless transceiver.” Claim 17

 depends on claim 16, which depends on claim 11, and further requires that “the

 formatted electrocardiographic signals are retrieved by one of a server, a client

 computer and a mobile device via the wireless transceiver.”

       As described with reference to Claims 6 and 16, measurement signals, which


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 can include derived and/or processed measurement signals, are transmitted to a

 remote site, such as a remote processor 106P, which comprises a client computer

 or a backend server, as claimed. Ex. 1003, ¶¶ [0013], [0104], [0091], [0197],

 [0199]; Ex. 1002, ¶158. The retrieving of the formatted electrocardiographic

 signals has long been understood and practiced for decades. Ex. 1002, ¶ 158

 (citing Ex. 1008). Furthermore, by their nature, wireless patches send data to a

 computer for processing, otherwise the wireless transmission would be lost. Ex.

 1002, ¶ 158. As such, this is an obvious feature that is commonly present in

 wireless patches. Id. A POSITA would understand that at least Mazar discloses

 this element. Id.

              9.     Claims 8 and 18

       Claim 8 depends on claim 1 and further recites that “the electrodes are

 exposed on a contact surface of the backing.” Claim 18 depends on claim 11 and

 similarly requires that “the electrodes are exposed on a contact surface of the

 backing.”

       Mazar discloses that the electrodes can be fabricated in many ways,

 including being printed on a flexible connector and/or exposed to the gel through

 apertures of breathable tape such that the gel can be positioned over the electrodes

 and portions of breathable tope for coupling the electrodes to the skin of the

 patient. Ex. 1003, ¶¶ [0122], [0133]; Ex. 1002, ¶ 160. Moreover, exposing the


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 electrodes on the bottom of the patch is the most obvious way to allow them to

 make contact with the patient and record the ECG signals. Id. Thus, this is the

 epitome of an obvious feature for this sort of device. Id. A POSITA would

 understand that at least Mazar discloses this element. Id.

              10.    Claims 9 and 19

       Claim 9 depends on claim 1 and further requires that the ECG patch includes

 “a hydrocolloid adhesive provided on at least a portion of a contact surface of the

 backing.” Claim 19 depends on claim 11 and further requires “a hydrocolloid

 adhesive provided on at least a portion of a contact surface of the backing.”

       Mazar expressly teaches that an adhesive 116A can be disposed on the

 underside/contact side of the patch 11. Ex. 1003, ¶ [0128]; Ex. 1002, ¶ 162. And

 that the adhesive 116A includes a hydrocolloid adhesive, as claimed. Id.

 Furthermore, a POSITA would understand that it is well known for hydrocolloid

 adhesives to be used in medical applications to avoid skin irritation. Ex. 1002,

 ¶ 162. Hydrocolloids were one of a few commonly used adhesives for this sort of

 application. Id. Nevertheless, a POSITA would understand that at least Mazar

 discloses this element. Ex. 1002, ¶163. And that it is obvious to use hydrocolloid

 adhesives to attach electrode patches to a patient’s skin. Id.

              11.    Claims 10 and 20

       Claim 10 depends on claim 9, which depends on claim 1, and further recites


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 that “the hydrocolloid adhesive is provided on the ends of the backing, on the

 contact surface.” Claim 20 depends on claim 19, which depends on claim 11, and

 further requires that “the hydrocolloid adhesive is provided on the ends of the

 backing, on the contact surface.”

       Mazar discloses an adhesive 116A, which is at least formed on the ends of

 the backing on the contact surface as claimed. Ex. 1003, ¶ [0128]; Ex. 1002, ¶165.

 A POSITA would understand that Mazar discloses this element. Ex. 1002, ¶165.

       A POSITA would further understand that the placement of the hydrocolloid

 adhesive is a simple design choice that was already well-known in the prior art.

 Ex. 1002, ¶ 166. For example, Yang shows a bottom foam layer 308 that includes

 a double adhesive layer positioned directly on one end of the backing of the

 adherent patch (e.g., the top foam layer 304 coupled to the top cover layer 302 via

 the flexible PCB 306) to adhere both to the flexible PCB 306 and to a user at the

 same time. Ex. 1005, 4:9-15, Fig. 3 (reproduced below); Ex. 1002, ¶166.




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 Furthermore, just like the ’743 patent, Yang teaches that its “patch” looks like a

 “band-aid” and adheres to the user’s body as such. Ex. 1005, 2:50-55; Ex. 1002,

 ¶ 167. Skilled artisans have known for decades that even transient exposure to an

 ECG patch can cause dermatitis and that longer exposure makes it even worse. Ex.

 1002, ¶ 167. This supports the obvious design choice of limiting the adhesive

 usage to the ends of the patch and not the middle. Id. Moreover, placing adhesive

 on the ends of the backing is the most obvious choice because if the ends are not


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 adhered, it is more likely they will peel up and cause the adhesive contact to

 weaken. Id. A POSITA would readily understand that this principle of providing

 irritation free adhesives for biomedical use only on the ends of the backing, on a

 contact surface, as claimed, is expressly taught by the “band-aid” analogy taught

 by Yang. Id.

        A POSITA would understand that Mazar and Yang, either alone or in

 combination, discloses this element. Ex. 1002, ¶ 168.

              GROUND 2: Oster in view of Yang Renders Claims 1-20 Obvious

        A POSITA would have found it obvious to predictably combine Oster’s

 adherent patch device with the teachings of Yang to achieve the particular design

 objectives in Oster’s system, as explained in Section VI.E above. Ex. 1002 ¶¶ 98-

 104.

              1.     Independent Claim 1

        Oster and Yang disclose the method of Claim 1 as described below with

 reference to the Claim element designations. See Section V.E.

                            a)     Element [1-PRE]

        Oster and Yang disclose “[a]n electrocardiography patch.” Oster discloses a

 biomedical sensor system for use in diagnostic procedures, including monitoring

 the electrical activity of a subject’s heart, for example, in developing an

 electrocardiogram (ECG). Ex. 1004, ¶¶ [0021], [0028]; Figs. 1, 2; Ex. 1002, ¶ 172.


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 Similarly, Yang also discloses a modular wearable sensor device in a “patch” form

 that is attached to the user for health monitoring, such as for ECG measurements.

 Ex. 1005, 2:24-50; Ex. 1002, ¶ 172.

       A POSITA would understand that Oster and Yang, either alone or in

 combination, discloses this element. Ex. 1002, ¶ 173.

                           b)     Element [1-A]

       Oster and Yang disclose “a backing comprising an elongated strip with a

 mid-section connecting two ends of the backing.” And Oster further discloses its

 elongated patch as having a “mid-section [that] is narrower than the two ends of

 the backing.” Fig. 1 (below), for example, shows that the biomedical sensor

 system 100 comprises a hub electrode 102, two satellite electrodes 104, and two

 connectors 106 positioned to couple each satellite electrode 104 to the hub 102.

 Ex. 1004, ¶¶ [0031], [0034-35], [0051], [0052], [0062]; Fig. 1; Ex. 1002, ¶ 175.




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       As shown in more detail in Fig. 2, each connector 106 comprises a wire

 conductor 162 (e.g., a copper wire) positioned between a first support member

 164, and a second support member 166 to provide an electrical communication

 pathway between the hub 102 and the electrode 104. Ex. 1004, ¶ [0057]; Ex. 1002,

 ¶ 176. One or more of the support members 164, 166, are the “backing” of the

 connector 106. Ex. 1004, ¶ [0062]; Ex. 1002, ¶ 176.




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       As shown in Fig. 1, the ends 104 of the biomedical sensor system 100 are

 wider than the connector 106, which narrows compared to the ends, as this claim

 element requires. Ex. 1002, ¶ 177. As shown in Fig. 2, support members 164,

 166, disclose a backing comprising an elongated strip with a mid-section

 connecting two ends of the backing (where the electrodes 104 and/or hub 102

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 reside), wherein the mid-section is narrower than the two ends of the backing. Id.

 In other words, Oster’s three node embodiment meets this limitation in a variety of

 ways. Ex. 1002, ¶ 177. Electrodes 104 could be considered to be the ends, which

 narrow in the connectors to hub electrode 102. See, Ex. 1004, ¶ [0035]; Ex. 1002,

 ¶ 177. Alternately, one could consider just the hub electrode 102 and one satellite

 electrode 104. Ex. 1002, ¶ 177.

       179. Moreover, the patent examiner correctly recognized that a narrowed

 mid-section is obvious because “[t]he skilled artisan would recognize narrowing a

 mid-section between the two ends of a backing obviously reduces weight by

 eliminating unnecessary material.” Ex. 1007, p. 178 (January 25, 2021, Office

 Action). A POSITA would view an elongated strip design as a “standard of care.”

 Ex. 1002, ¶ 178. Most clinically used monitors have an elongated strip design—

 even implantable recorders are elongated in shape. Id. This is because in addition

 to the reduction of weight and the elimination of unnecessary material, reducing

 excess material will increase patient comfort by reducing the area covered by the

 patch and allowing patch to twist more easily and therefore conform to the

 movement of the patient. Id. Thus, a POSITA would understand that at least

 Oster expressly discloses this element and that it would be obvious to a POSITA to

 include this element in a patch. Id.

       A POSITA would further understand that Yang discloses a backing


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 comprising an elongated strip. Ex. 1005, 3:63-4:2, Fig. 3 (reproduced below); Ex.

 1002, ¶ 179.




                           c)    Element [1-B]

       Oster and Yang disclose “an electrocardiographic electrode on each end of

 the backing to capture electrocardiographic signals.” As shown in Fig. 1 above,

 the biomedical sensor system 100 includes a hub electrode 102, two satellite

 electrodes 104 on each terminal end of the system 100, and two connectors 106


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 positioned to couple each satellite electrode 104 to the hub 102. Ex. 1004,

 ¶¶ [0031], [0035], [0043]; Fig. 1; Ex. 1002, ¶ 181.

       Oster teaches that its biomedical sensor system 100, like the ’743 patent, is

 for monitoring the electrocardiographic signals from the subject's heart, for

 example, in developing an electrocardiogram (ECG). Ex. 1004, ¶ [0028]; Ex.

 1002, ¶ 182. Oster explains that it is well known in the art for an ECG to be

 captured using a variety of electrode lead configurations, including a variety of 3-

 lead and 5-lead ECG configurations. Ex. 1004, ¶ [0029]; Ex. 1002, ¶ 182. A

 POSITA would also understand that it would have been obvious or well-known to

 apply the teachings of Oster to any other lead configuration, such as the two-

 electrode configuration of Yang, which would reduce cost and aid in simplicity.

 Ex. 1004, ¶ [0029], Ex. 1002, ¶ 182. Moreover, in its 3-lead embodiment as

 disclosed in the Fig. 1, Oster’s patch with its triangular shape would effectively

 have three ends. Ex. 1002, ¶ 182.

       Yang discloses an embodiment with just two electrodes 310 positioned only

 on each end of the backing of the adherent patch (e.g., the top foam layer 304

 coupled to the top cover layer 302 via the flexible PCB 306). Ex. 1005, 3:2-4, 63-

 4:2, Fig. 3 (reproduced below); Ex. 1002, ¶ 183. Further, demonstrating the fact

 that the number of electrodes can be varied to achieve trade-offs between

 complexity, cost and functionality. Ex. 1002, ¶ 183. Placing two electrodes on


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 opposite ends of the backings optimizes the spread of the electrodes, while

 minimizing the cost and complexity that would arise from adding more than two

 electrodes. Ex. 1002, ¶ 183.




       A skilled artisan would view an electrocardiographic electrode on each end

 of the backing as a “standard of care.” Ex. 1002, ¶ 184. Thus, a POSITA would

 understand that Oster discloses this element and that it would be obvious to

 employ electrodes on each end of the backing in its various embodiments in view


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 of Yang, which presents a simpler two electrode patch. Id.

                            d)     Element [1-C]

       Oster discloses “a flexible circuit comprising a pair of circuit traces

 electrically coupled to the electrocardiographic electrodes.” As shown in Fig. 1

 above, Oster teaches that the biomedical sensor system 100 includes a hub 102,

 two satellite electrodes 104, and two connectors 106 positioned to couple each

 satellite electrode 104 to the hub 102. Ex. 1004, ¶¶ [0028], [0031], [0043], [0051],

 [0052]; Fig. 1; Ex. 1002, ¶ 186. The connectors 106 are adapted to provide a

 pathway between the electrodes 104 (or other sensors) and the hub 102 for one or

 more signals that may be communicated between the electrodes 104 and the hub

 102. Id.

       The biomedical sensor system 100 is size-configurable and conformable to

 the subject 50, at least partially because the connector 106 is partially formed of a

 viscoelastic material, such that by applying force to the connector 106 substantially

 along the length of the connector 106 (e.g., substantially oriented in the first

 direction D1), the connector 106 can be elongated. Ex. 1004, ¶ [0051]; Ex. 1002,

 ¶ 187. The connector 106 includes a wire conductor 162 (e.g., a copper wire)

 positioned between a first support member 164, and a second support member 166

 to provide an electrical communication pathway between the hub 102 and the

 electrode 104. Ex. 1004, ¶¶ [0028], [0057]; Ex. 1002, ¶ 187.


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       It is well understood that a circuit trace is necessary to connect to the

 electrodes to the processor to record the relevant data. Ex. 1002, ¶ 188. A

 POSITA would understand that Oster discloses this element. Id.

       The use of flexible PCBs was very common in these applications. Ex. 1002,

 ¶ 189. And Yang similarly teaches a flexible PCB 306 coupled to a top foam layer

 304 and a bottom foam layer 308. Ex. 1005, 3:63-4:2, Fig. 3 (reproduced below);

 Ex. 1002, ¶ 189.




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 The flexible PCB 306 is coupled to at least two electrodes 310 and enables the

 disposable module 300 to conform and to adhere to a user’s movements. Ex. 1005,

 4:2-4; Ex. 1002, ¶ 190. Yang also teaches that the flexible PCB 306 and bottom

 foam layer 308 each have two openings to allow for the coupling of the at least two

 electrodes 310 to the flexible PCB 306. Ex. 1005, 4:39-42; Ex. 1002, ¶ 190. A

 POSITA would readily understand that Yang’s teaching to provide an electrical

 coupling of the electrodes to the PCB would necessarily include a pair of circuit

 traces, such as taught by Oster. Ex. 1002, ¶ 190. All electronic devices, including

 those used in cardiac electrophysiology such as ablation and recording catheters

 and pacemakers and defibrillators, have circuit traces. Id.

       A POSITA would understand that Oster and Yang, either alone or in

 combination, discloses this element. Ex. 1002, ¶ 191.

                            e)    Element [1-D]

       Oster and Yang disclose “a wireless transceiver to communicate at least a

 portion of the electrocardiographic signals.” Oster expressly teaches that the hub

 102 can wirelessly communicate with downstream computing. Ex. 1004,

 ¶¶ [0032], [0035], [0022], [0027]; Ex. 1002, ¶ 193. Specifically, the biomedical

 sensor 100 includes a transmitter 108 that receives and transmits wirelessly

 signals received from the electrodes 104 through a signal processor 112. Ex. 1004,

 ¶¶ [0035], [0022], [0027]; Fig. 13; Ex. 1002, ¶ 193. Similarly, Yang discloses a


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 wireless sensor. Ex. 1005, 2:48-55; Ex. 1002, ¶ 193. Wireless communication of

 cardiac electrical signals existed in implantable devices well before 2013. Ex.

 1002, ¶ 193.

       A POSITA would understand that at least Oster discloses this element. Ex.

 1002, ¶ 194.

                2.   Independent Claim 11

       Claim 11 is an independent claim that differs from Claim 1 as shown in the

 comparison below.

  Claim 1                                    Claim 11
  An electrocardiography patch,              An electrocardiography monitor,
  comprising:                                comprising:

  a backing comprising an elongated          a backing comprising an elongated
  strip with a mid-section connecting two    strip with a mid-section connecting two
  ends of the backing, wherein the mid-      ends of the backing, wherein the mid-
  section is narrower than the two ends      section is narrower than the two ends
  of the backing;                            of the backing;

  an electrocardiographic electrode on       an electrocardiographic electrode on
  each end of the backing to capture         each end of the backing to capture
  electrocardiographic signals;              electrocardiographic signals;

  a flexible circuit comprising a pair of    a flexible circuit comprising a pair of
  circuit traces electrically coupled to the circuit traces electrically coupled to the
  electrocardiographic electrodes; and       electrocardiographic electrodes;

  a wireless transceiver to communicate      a wireless transceiver to communicate
  at least a portion of the                  at least a portion of the
  electrocardiographic signals.              electrocardiographic signals;

                                             a battery on one of the ends of the


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                                            backing;

                                            a processor powered by the battery;
                                            and

                                            memory electrically interfaced with the
                                            processor and operable to store samples
                                            of the electrocardiographic signals.

       As can be seen from the table, the only material difference between claims 1

 and 11 is the additional recitation of the basic elements required to make a wireless

 patch function, namely the battery, the processor, and the memory, which are

 addressed and taught by the prior art shown below. Although the preamble slightly

 deviates between claims 1 and 11, a POSITA would understand that the

 electrocardiographic patch claimed by Claim 1 is an electrocardiographic monitor

 of Claim 11 and, thus, the different words in the preamble do not materially change

 the scope of preambles between Claims 1 and 11. Ex. 1002, ¶¶ 115-117, 195.

                            a)    Element [11-E]

       The combination of Oster and Yang discloses “a battery on one of the ends

 of the backing.” Oster teaches that its wireless biomedical sensor system can

 create electromagnetic and electrical signals and provide an electrical conduit

 between its sensors and hubs. Ex. 1004, ¶¶ [0026], [0028], [0032], [0036]; Ex.

 1002, ¶ 196. Such a wireless device would most obviously include a power source,

 such as a battery, to function. Ex. 1002, ¶ 196. Indeed, Oster discloses that its

 biomedical sensor system can be applied to telemetric and remote monitoring

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 devices, such as a Holter monitor. Ex. 1004, ¶ [0022]; Ex. 1002, ¶ 196. A

 POSITA would understand that a Holter monitor is a small, wearable battery-

 powered device for cardiac monitoring, which includes a replaceable battery. Ex.

 1002, ¶ 196. Moreover, providing power to run the processor and sensors of the

 Oster patch is the most common way to power a device and as such it would the

 obvious way to do it. Id.

       Nevertheless, a POSITA would understand that it is obvious to use a battery

 to power the wireless electronic monitoring systems such as Oster. Ex. 1002,

 ¶ 197. For example, Yang also teaches a wireless monitor and expressly discloses

 a battery 318 positioned directly on one end of the backing of the adherent patch

 (e.g., the top foam layer 304 coupled to the top cover layer 302 via the flexible

 PCB 306) to power the electrical component unit 312 of the flexible PCB 306 and

 the reusable module 106. Ex. 1005, 3:2-4, 63-4:2, 4:28-38, Fig. 3 (reproduced

 below); Ex. 1002, ¶ 197. And common sense dictates that the most obvious

 placement of the battery in Oster would be on one of is ends within one of its

 nodes, which provide the necessary space. Ex. 1002, ¶ 197.




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 Furthermore, just like the ’743 patent, Yang teaches that its battery is housed on the

 replaceable portion of its patch (the disposable module 102 of Yang and/or the

 replaceable extended wear electrode patch of the ’743 patent). Ex. 1002, ¶ 198.

 And similar to the ’743 patent, Yang also teaches that its health monitoring device

 is cost-efficient because the reusable portion can be separated from the disposable

 portion (which houses the battery) and fitted with a new replacement disposable

 portion to extend its lifetime. Ex. 1005, 5:41-53; Ex. 1002, ¶ 198. A POSITA


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 would readily understand that Yang’s teaching to reuse elements of the patch (such

 as the electronics) and replace other elements of the patch (such as the battery and

 the patch body), would improve the cost effectiveness of a disposable portion of a

 health monitoring device, such as that of Oster, which would include the

 consumable battery and create a product that is less wasteful. Ex. 1002, ¶ 198.

 Placing a battery as taught by Yang into one of the ends of the Oster patch would

 be a simple matter of packing well-understood components, which would be a

 routine and predictable for a POSITA. Id. Moreover, given the narrow and

 stretching design of the middle regions 106 of Oster, they would not be suitable for

 a battery or other bulky components. Id.

       A POSITA would understand that Oster and Yang, either alone or in

 combination, discloses this element and renders it obvious. Ex. 1002, ¶ 199.

                            b)    Element [11-F]

       The combination of Oster and Yang discloses “a processor powered by the

 battery.” Oster teaches that the biomedical sensor system 100 can include a

 processor, such as a controller 114 or a signal processor 112. Ex. 1004, ¶¶ [0035],

 [0038]; Ex. 1002, ¶ 200. As with the battery element above, a POSITA would

 understand that the most obvious way to power the processor of an electrical

 device like Oster’s would be with a battery. Ex. 1002, ¶ 200.

       For example, a POSITA would also know that it is obvious to use a battery


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 to power the patch from prior art like Yang, which shows a battery 318 positioned

 directly on one end of the backing of the adherent patch (e.g., the top foam layer

 304 coupled to the top cover layer 302 via the flexible PCB 306) to power the

 electrical component unit 312 of the flexible PCB 306 and the reusable module

 106, which electrical component unit 312 includes a microcontroller (a processor).

 Ex. 1005, 3:2-4, 29-40, 63-4:2, 4:28-38; Ex. 1002, ¶ 201.

       A POSITA would understand that Oster and Yang, either alone or in

 combination, discloses this element and that it is obvious to power a wearable

 device—like the claimed patch—with a battery. Ex. 1002, ¶ 202.

                            c)     Element [11-G]

       Oster discloses “memory electrically interfaced with the processor and

 operable to store samples of the electrocardiographic signals.” Oster teaches that

 the biomedical sensor system 100 can include a memory 116 to at least temporarily

 store information relative to the signals received from the satellite and/or hub

 electrodes 104. Ex. 1004, ¶ [0043]; see also, Ex. 1005 5:23-31 (explaining a

 POSITA would recognize the suitable addition of memory to the disclosed patch);

 Ex. 1002, ¶ 203. In fact, the storage of samples cardiac electrical signals has long

 been understood and practiced for decades. Id.

       A POSITA would understand that at least Oster discloses this element and

 that it would be an obvious addition to an electrocardiograph monitor. Ex. 1002,


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 ¶ 204.

                3.    Claims 2 and 12

          Claim 2 depends on claim 1 and further requires that the ECG patch includes

 “an accelerometer provided on the backing.” Similarly, Claim 12 depends on

 Claim 11 and further requires that there is “an accelerometer provided on the

 backing.”

          Activity sensors, including accelerometers, have long been understood and

 practiced for decades. Ex. 1002, ¶ 205. A POSITA would understand that Oster

 discloses this element and given the popularity of the quantified life movement by

 the priority date of the ’743 it would be obvious to a POSITA to include an

 accelerometer in this sort of patch. Id. Oster expressly describes that in addition

 to sensing electrodes, its sensors can include an accelerometer. Ex. 1004, ¶ [0026];

 Ex. 1002, ¶ 205.

          A POSITA would understand that at least Oster discloses this element. Ex.

 1002, ¶ 206.

                4.    Claims 3 and 13

          Claim 3 depends on claim 1 and further requires that the ECG patch includes

 “a physiology sensor provided on the backing to measure body temperature.”

 Claim 13 depends on claim 11 and further requires “a physiology sensor provided

 on the backing to measure body temperature.”


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       Like the accelerometer of claims 2 and 12, Oster expressly describes that its

 sensors can include a thermocouple and/or sensors for sensing one or more of

 blood oxygen saturation, glucose, body temperature, blood pressure, and

 combinations thereof for creating one or more signals based on one or more

 physiological characteristics. Ex. 1004, ¶¶ [0024], [0026]; Ex. 1002, ¶ 208.

 Temperature sensors have long been understood and practiced for decades. Ex.

 1002, ¶ 208 (citing Ex. 1008-1009).

       A POSITA would understand that at least Oster discloses this element and,

 given the popularity of the quantified life movement by the priority date of the

 ’743 patent, it would be obvious to a POSITA to include a temperature sensor in

 this sort of patch. Ex. 1002, ¶ 209.

              5.    Claims 4 and 14

       Claim 4 depends on claim 1 and further requires that “each of the ends of the

 backing is rounded on an outer edge.” Claim 14 depends on claim 11 and further

 requires “each of the ends of the backing [to be] rounded on an outer edge.”

       As shown in Fig. 2, the connector 106 (which includes the support members

 164, 166 as the backing) terminates at the electrodes 104, which is shown to be

 rounded on an outer edge.




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       A POSITA would understand that it would have been obvious to use

 rounded edges for comfort of the patient and for aesthetic reasons. Ex. 1002,

 ¶ 212. For example, the corners of squared off edges have a tendence to peel off

 since they come to a point. Id. Therefore, a POSITA would understand that at

 least Oster discloses this element. Id., see also the reasoning in Section VII.A.5

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 above.

              6.    Claims 5 and 15

       Claim 5 depends on claim 1 and further requires “a physiology and activity

 sensor provided on the backing to measure one or more of heart rate, temperature,

 blood pressure, movement, sleep, footsteps, calories burned and estimated blood

 glucose level.” Claim 15 depends on claim 11 and further requires “a physiology

 and activity sensor provided on the backing to measure one or more of heart rate,

 temperature, blood pressure, movement, sleep, footsteps, calories burned, and

 estimated blood glucose level.”

       Like claims 3 and 13, Oster states that its sensors include a thermocouple

 and/or sensors for sensing one or more of blood oxygen saturation, glucose, body

 temperature, blood pressure, and combinations thereof for creating one or more

 signals based on one or more physiological characteristics. Ex. 1004, ¶¶ [0021],

 [0024], [0026]; Ex. 1002, ¶ 214. Physiology and activity sensors measuring one or

 more of heart rate, temperature, blood pressure, movement, sleep, footsteps,

 calories burned and estimated blood glucose level have long been understood and

 practiced for decades. Ex. 1002, ¶ 214 (citing Ex. 1008-1012).

       A POSITA would understand that at least Oster discloses this element and

 given the popularity of the quantified life movement by the priority date of the

 ’743 patent, it would be obvious to a POSITA to include these sorts of sensors in


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 this sort of patch. Ex. 1002, ¶ 215.

                7.   Claims 6 and 16

       Claim 6 depends on claim 1 and further requires that “the

 electrocardiographic signals are converted to a different format and processed.”

 Claim 16 depends on claim 11 and further requires “the electrocardiographic

 signals [to be] converted to a different format and processed.”

       Oster teaches that the transmitter 108 is adapted to translate signals from the

 electrodes 104 into a signal that can be transmitted (e.g., one or more of an

 electromagnetic signal, an acoustic signal, and combinations thereof), and

 wirelessly transmit information relative to the signal(s) from the electrodes 104 to

 a receiver 110. Ex. 1004, ¶¶ [0035], [0024], [0025], [0026]; Ex. 1002, ¶ 217. The

 conversion of electrocardiographic signals to a different format and processed has

 long been understood and practiced for decades. Ex. 1002, ¶ 217 (citing Ex. 1008,

 1013).

       A POSITA would understand that at least Oster discloses this element. Ex.

 1002, ¶ 218.

                8.   Claims 7 and 17

       Claim 7 depends on claim 6, which depends on claim 1, and further recites

 that “the formatted electrocardiographic signals are retrieved by one of a server, a

 client computer and a mobile device via the wireless transceiver.” Claim 17


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 depends on claim 16, which depends on claim 11, and further requires that “the

 formatted electrocardiographic signals are retrieved by one of a server, a client

 computer and a mobile device via the wireless transceiver.”

       As described with reference to Claims 6 and 16, the transmitter 108

 translates signals from the electrodes 104 and wirelessly transmits this information

 to a receiver 110. Ex. 1002, ¶ 220. Oster teaches that the receiver 110 can include

 or be a portion of a downstream computer, which comprises a client computer, as

 claimed. Ex. 1004, ¶¶ [0035], [0024], [0025], [0026]; Ex. 1002, ¶ 220. The

 retrieving of the formatted electrocardiographic signals has long been understood

 and practiced for decades. Ex. 1002, ¶ 220 (citing Ex. 1008).

       Furthermore, by their nature, wireless patches send data to a computer for

 processing, otherwise the wireless transmission would be lost. Ex. 1002, ¶ 221.

 As such, this is an obvious feature that is commonly present in wireless patches.

 Id. A POSITA would understand that at least Oster discloses this element. Id.

              9.    Claims 8 and 18

       Claim 8 depends on claim 1 and further recites that “the electrodes are

 exposed on a contact surface of the backing.” Claim 18 depends on claim 11 and

 further requires that “the electrodes are exposed on a contact surface of the

 backing.”

       Fig. 2 shows an exploded view of the electrode 104, which shows that the


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 electrodes are on a contact surface of the backing of the connector 106. Ex. 1004,

 ¶¶ [0048], [0047], [0076]; Ex. 1002, ¶ 223. Additionally, Oster discloses an

 embodiment where the adhesive of the electrodes 104 can be directly coated onto a

 backing (e.g., a support member 164, 166 of the connector 106) or it can be formed

 as a separate layer and laminated to the backing. Id. The effect of contact on

 tracing quality has been known for decades from an engineering and clinical

 perspective. Ex. 1002, ¶ 223. Skilled artisans understand the importance of

 electrode contact in the use of ECGs, for example, body hair is shaved/remove to

 ensure electrode contact. Id. Nevertheless, a POSITA would also understand that

 the electrodes are necessarily exposed to a contact surface of the surface it is

 attached to conduct electrical signals Id.

          A POSITA would understand that Oster discloses this element. Ex. 1002,

 ¶ 224.

          A POSITA would further understand that the placement of the

 electrodes/sensors on a contact surface of a backing was already well-known in the

 prior art and necessary for electronic components to function. Ex. 1002, ¶ 225.

 For example, Yang teaches a flexible PCB 306 coupled to at least two electrodes

 310. Ex. 1005, 3:63-4:4, Fig. 3 (reproduced below); Ex. 1002, ¶ 225.




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 Yang teaches that the flexible PCB 306 and bottom foam layer 308 each have two

 openings to allow for the coupling of the at least two electrodes 310 to the flexible

 PCB 306. Ex. 1005, 4:39-42; Ex. 1002, ¶ 226. A POSITA would readily

 understand that Yang’s teaching of providing cutouts for its electrodes would

 necessarily include a placement of the electrodes on a contact surface of the

 backing (which includes the support members 164, 166 (not shown in Fig. 3) as the

 backing) to adhere to the patient. Ex. 1002, ¶ 226. Moreover, exposing the


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 electrodes on the bottom of the patch is the most obvious way to allow them to

 make contact with the patient and record the ECG signals. Id. Thus, this is the

 epitome of an obvious feature for this sort of device. Id. A POSITA would

 therefore be motivated to combine the teaching of Oster and Yang to include this in

 a wireless electrocardiograph patch. Id.

              10.    Claims 9 and 19

       Claim 9 depends on claim 1 and further requires that the ECG patch includes

 “a hydrocolloid adhesive provided on at least a portion of a contact surface of the

 backing.” Claim 19 depends on claim 11 and further requires “a hydrocolloid

 adhesive provided on at least a portion of a contact surface of the backing.”

       Oster discloses stretch release adhesives for at least a portion of a contact

 surface of the connector 106 to couple the electrodes 105 (and/or the hub 102) to

 the subject. Ex. 1004, Para. [0062]; Ex. 1002, ¶ 228. Additionally, Oster discloses

 that the electrodes 104 can include pregelled electrodes, wet gel electrodes, and

 combinations thereof. Ex. 1004, ¶ [0043]; Ex. 1002, ¶ 228. And Oster expressly

 teaches that these electrodes can include an adhesive, such as an adhesive

 hydrogel, a bicontinuous hydrogel pressure sensitive adhesive, and so on. Id. In

 fact, a POSITA would understand that in the context of applying adhesives to a

 subject’s skin, it is obvious to use a non-irritating adhesive, such as a hydrocolloid

 adhesive. Ex. 1002, ¶ 228. As before, hydrocolloids were one of a few commonly


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 used adhesives for this sort of application. Id. A POSITA would understand that

 Oster discloses this element. Id. And that it is obvious to use hydrocolloid

 adhesives to attach electrode patches to a patient’s skin. Id.

       Additionally, a POSITA would understand that the placement of the

 hydrocolloid adhesive is a simple design choice that was already well-known in the

 prior art. Ex. 1002, ¶ 229. For example, the POSITA would understand that it is

 well known to apply the adhesives to specific parts of contact surface of the

 backing to ensure adhesion, such as taught by Yang. Id. For example, Yang shows

 a bottom foam layer 308 that includes a double adhesive layer positioned directly

 on one end of the backing of the adherent patch (e.g., the top foam layer 304

 coupled to the top cover layer 302 via the flexible PCB 306) to adhere both to the

 flexible PCB 306 and to a user at the same time. Ex. 1005, 4:9-15, Fig. 3

 (reproduced below); Ex. 1002, ¶ 230.




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       A POSITA would understand that Oster and Yang, either alone or in

 combination, renders this element obvious. Ex. 1002, ¶ 231.

              11.   Claims 10 and 20

       Claim 10 depends on claim 9, which depends on claim 1, and further recites

 that “the hydrocolloid adhesive is provided on the ends of the backing, on the

 contact surface.” Claim 20 depends on claim 19, which depends on claim 11, and

 further requires that “the hydrocolloid adhesive is provided on the ends of the


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 backing, on the contact surface.”

       Figs. 1 and 2 of Oster illustrate that the electrodes 104 and corresponding

 skin adhesives are provided on the ends of the backing, which is on the contact

 surface. Ex. 1002, ¶ 233. Furthermore, a POSITA would understand that in the

 context of applying adhesives to a subject’s skin, it is obvious to use a non-

 irritating adhesive, such as a hydrocolloid adhesive, minimally as needed to secure

 the device. Id. In applying biomedical devices, the concept to also apply

 adhesives on the ends of the device has been well-known, for example, as

 illustrated by a Band-aid®. Id.

       A POSITA would understand that at least Oster discloses this element. Ex.

 1002, ¶ 234.

       Nevertheless, a POSITA would readily understand that it is well known to

 apply the adhesives to specific parts of contact surface of the backing to ensure

 adhesion, such as taught by Yang. Ex. 1002, ¶ 235. This would include applying

 the adhesive to the border of the contact surface of the backing. Id.

       Just like the ’743 patent, Yang teaches that its “patch” looks like a “band-

 aid” and adheres to the user’s body as such. Ex. 1005, 2:50-55; Ex. 1002, ¶ 236.

 A POSITA would readily understand that this principle of providing irritation free

 adhesives for biomedical use only on the ends of the backing, on a contact surface,

 as claimed, is expressly taught by the “band-aid” analogy taught by Yang. Ex.


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 1002, ¶ 236.

       A POSITA would understand that Oster and Yang, either alone or in

 combination, discloses this element. Ex. 1002, ¶ 237. And a POSITA would be

 motivated by the teachings of Oster and Yang to include this element in a wireless

 electrocardiographic patch. Id.

 VIII. SECONDARY CONSIDERATIONS

       Petitioner is not aware of any secondary considerations that would overcome

 the strong showing of obviousness provided by the Petition. Further, any attempt

 by Bardy to rely on alleged secondary considerations cannot overcome the

 showing of obviousness detailed above. Tokai Corp. v. Easton Enters., Inc., 632

 F.3d 1358, 1370 (Fed. Cir. 2011).

 IX.   CONCLUSION

       For the foregoing reasons, Petitioner respectfully requests that IPR of the

 ’743 patent be instituted, and that Challenged Claims are cancelled.




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Case 1:24-cv-01355-JDW     Document 12-10 Filed 03/03/25        Page 92 of 93 PageID #:
                                       1094
                                                                 Inter Partes Review
                                                 United States Patent No. 11,051,743

                       CERTIFICATE OF WORD COUNT

       The undersigned certifies that the foregoing PETITION FOR INTER

 PARTES REVIEW OF U.S. PATENT NO. 11,051,743 PURSUANT TO 35 U.S.C.

 §§ 311-319 and 37 C.F.R. § 42 complies with the type volume limitation in 37

 C.F.R. § 42.24(a)(1). According to the utilized word-processing system’s word

 count, the petition—excluding the caption, table of contents, table of exhibits,

 mandatory notices, certificate of word count, and certificate of service—contains

 13,900 words.



  Dated: December 21, 2022                  By: /Richard F. Martinelli/

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                                          1095
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                             CERTIFICATE OF SERVICE

        The undersigned hereby confirms that the foregoing PETITION FOR INTER

 PARTES REVIEW OF U.S. PATENT NO. 11,051,743 PURSUANT TO 35 U.S.C.

 §§ 311-319 and 37 C.F.R. § 42 and associated Exhibits 1001-1019 were caused to

 be served on December 21, 2022 via overnight courier upon the following counsel

 of record for Patent Owner:

                             CASCADIA INTELLECTUAL PROPERTY
                             Attn: Jeffrey Klembczyk
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        Copies of this Petition and associated Exhibits 1001-1019 were also served

 on December 21, 2022, via electronic mail, on Patent Owner’s counsel of record in

 a related district court litigation:

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